       Case 18-02154-5-JNC                Doc 12 Filed 05/02/18 Entered 05/03/18 01:07:12                              Page 1 of 3
                                             United States Bankruptcy Court
                                          Eastern District of North Carolina
In re:                                                                                                     Case No. 18-02154-JNC
Randy P. Coley                                                                                             Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0417-5                  User: barnes_da                    Page 1 of 1                          Date Rcvd: Apr 30, 2018
                                      Form ID: 309E                      Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 02, 2018.
5854284         Citibank,    Attn: Managing Agent or Officer,    P.O. Box 9001037,    Louisville, KY 40290-1037
5854285        +Clyde Canup,    552 Stratford Pkwy,    Winder, GA 30680-4904
5854286        +DIRECTV, LLC,    Attn: Managing Officer or Agent,    2260 East Imperial Highway,
                 El Segundo, CA 90245-3501
5854287         DIRECTV, LLC,    Attn: Managing Agent or Officer,    160 Mine Lake Ct Ste 200,
                 Raleigh, NC 27615-6417
5854288        +George Sanderson,    Ellis & Winters LLP,    4131 Parklake Avenue, Suite 400,
                 Raleigh, NC 27612-2390
5854289        +Gordon Rees Scully Mansukhani LLP,     Attn: Robert Shaw, Partner,    421 Fayetteville St,
                 Raleigh, NC 27601-1792
5854291        +Kelley McLaren,    The Finley Group,    212 South Tryon St, Ste 1050,    Charlotte, NC 28281-0003
5854292        +Kimberli Coley,    202 Brittany Place,    Cary, NC 27511-6001
5854293        +Mike Canup,    3213 Manor Ridge Drive,    Raleigh, NC 27603-4813
5854295        +Secretary of the Treasury,    1500 Pennsylvania Ave, N.W.,    Washington, DC 20220-0001
5854296         Securities & Exchange Commission,    Office of Reorganization,     950 East Paces Rd, Ste 900,
                 Atlanta, GA 30326-1382
5854297         US Attorney,    310 New Bern Avenue, Suite 800,    Federal Bldg,    Raleigh, NC 27601-1461

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
db             +E-mail/PDF: rcoley4759@aol.com May 01 2018 02:41:49      Randy P. Coley,    202 Brittany Place,
                 Cary, NC 27511-6001
aty             E-mail/Text: J.M.Cook@jmcookesq.com May 01 2018 02:41:51      J.M. Cook,    J.M. Cook, P.A.,
                 5886 Faringdon Place, Suite 100,   Raleigh, NC 27609
smg            +E-mail/Text: NCEBAdb_bnc@nceba.uscourts.gov May 01 2018 02:42:03       Bankruptcy Administrator,
                 Two Hannover Square, Ste. 640,   434 Fayetteville Street,    Raleigh, NC 27601-1701
smg             EDI: IRS.COM May 01 2018 06:39:00      Internal Revenue Service,    Insolvency Support Services,
                 320 Federal Place, Room 335,   Greensboro, NC 27401
5854280         EDI: BANKAMER.COM May 01 2018 06:39:00      Bank of America,    Attn: Managing Agent or Officer,
                 P.O. Box 15019,   Wilmington, DE 19886-5019
5854281         E-mail/Text: bankruptcy@bbandt.com May 01 2018 02:41:58      BB&T,
                 Attn: Managing Agent or Officer,   P.O. Box 580435,    Charlotte, NC 28258-0435
5854282         E-mail/Text: bankruptcy@bbandt.com May 01 2018 02:41:58      BB&T,
                 Attn: Managing Agent or Officer,   P.O. Box 580050,    Charlotte, NC 28258-0050
5854283        +E-mail/Text: bankruptcy@bbandt.com May 01 2018 02:41:58      BB&T Bankruptcy Section,
                 Attn: Managing Agent or Officer,   P.O. Box 1847,    Wilson, NC 27894-1847
5854294         EDI: NCDEPREV.COM May 01 2018 06:38:00      NC Dept of Revenue,
                 Office Serv. Div, Bankruptcy Unit,    P.O. Box 1168,   Raleigh, NC 27602-1168
                                                                                              TOTAL: 9

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
5854290*          Internal Revenue Service,    Centralized Insolvency Operations,                     P.O. Box 7346,
                   Philadelphia, PA 19101-7346
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 02, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 30, 2018 at the address(es) listed below:
              J.M. Cook    on behalf of Debtor Randy P. Coley J.M.Cook@jmcookesq.com
                                                                                            TOTAL: 1
   Case 18-02154-5-JNC                        Doc 12 Filed 05/02/18 Entered 05/03/18 01:07:12                                 Page 2 of 3
                                                         United States Bankruptcy Court
                                                         Eastern District of North Carolina
                                                                 Raleigh Division


 Debtor 1              Randy P. Coley                                                   Social Security number or ITIN         xxx−xx−6298
                       First Name   Middle Name   Last Name                             EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                               Social Security number or ITIN _ _ _ _
                       First Name   Middle Name   Last Name
 (Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
                                                                                        Date case filed for chapter 11 4/30/18
 Case number:          18−02154−5−JNC

Official Form 309E (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                    12/15

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered. This notice has important information about the case for creditors and debtors, including information
about the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a
discharge of any debts or who want to have a particular debt excepted from discharge may be required to file a complaint in the
bankruptcy clerk's office within the deadlines specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).
Parties may opt to receive notices from the court via email rather than U.S. Mail. Register at ebn.uscourts.gov.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                       About Debtor 2:
 1. Debtor's full name                        Randy P. Coley

                                              dba Its Thundertime LLC, fdba East Coast
 2. All other names used in
    the last 8 years                          Cablevision, LLC, fdba South Raleigh Air, LLC,
                                              fdba East Coast Sales, LLC

 3. Address                                   202 Brittany Place
                                              Cary, NC 27511

                                              J.M. Cook
 4. Debtor's attorney                         J.M. Cook, P.A.                                     Contact phone 919 675−2411
      Name and address                        5886 Faringdon Place, Suite 100
                                              Raleigh, NC 27609

 5. Bankruptcy clerk's office                                                                     Office Hours: 8:30 a.m. − 4:30 p.m.
      Documents in this case may be filed     300 Fayetteville Street, 4th Floor
      at this address.                        P.O. Box 791                                        Contact phone: 919−856−4752
      You may inspect all records filed in    Raleigh, NC 27602
      this case at this office or online at
                                                                                                  Date: 4/30/18
      www.pacer.gov.

                                                                                                   For more information, see page 2 >

Official Form 309E (For Individuals or Joint Debtors)                 Notice of Chapter 11 Bankruptcy Case                              page 1
   Case 18-02154-5-JNC                       Doc 12 Filed 05/02/18 Entered 05/03/18 01:07:12                                                 Page 3 of 3
Debtor Randy P. Coley                                                                                                     Case number 18−02154−5−JNC

 6. Meeting of creditors                     June 5, 2018 at 10:00 AM
     Debtors must attend the meeting
     to be questioned under oath. In a       Please bring a government issued picture ID with you to         Location:
     joint case, both spouses must           the meeting of creditors. This ID is required for entry into    300 Fayetteville Street, Suite 130,
     attend. Creditors may attend, but       the building.                                                   Raleigh, NC 27601
     are not required to do so.              The meeting may be continued or adjourned to a later
                                             date. If so, the date will be on the court docket.

 7. Deadlines                       File by the deadline to object to discharge or to                                    First date set for hearing on
     The bankruptcy clerk's         challenge whether certain debts are dischargeable:                                   confirmation of plan. The court will
     office must receive these                                                                                           send you a notice of that date later.
     documents and any
     required filing fee by the     You must file a complaint:                                                           Filing deadline for
     following deadlines.                                                                                                dischargeability complaints:
                                            •   if you assert that the debtor is not entitled to receive a discharge
                                                of any debts under 11 U.S.C. § 1141(d)(3) or                             8/6/18
                                            •   if you want to have a debt excepted from discharge under 11
                                                U.S.C. § 523(a)(2), (4), or (6).


                                    Deadline for filing proof of claim:                                                  9/4/18
                                                                                                                         For a governmental unit:
                                                                                                                         10/29/18
                                    A proof of claim is a signed statement describing a creditor's claim. A proof of
                                    claim form may be obtained at www.nceb.uscourts.gov or any bankruptcy
                                    clerk's office. Alternatively, the claim may be filed electronically on the above
                                    website by accessing the Proof of Claim section. When filing electronically, it
                                    is not necessary to complete a paper claim form.

                                    Your claim will be allowed in the amount scheduled unless:

                                            • you
                                              your claim is designated as disputed, contingent, or unliquidated;
                                            • you file a proof of claim in a different amount; or
                                            •     receive another notice.

                                    If your claim is not scheduled or if your claim is designated as disputed,
                                    contingent, or unliquidated, you must file a proof of claim or you might not be
                                    paid on your claim and you might be unable to vote on a plan. You may file a
                                    proof of claim even if your claim is scheduled.

                                    You may review the schedules at the bankruptcy clerk's office or online at
                                    www.pacer.gov.

                                    Secured creditors retain rights in their collateral regardless of whether they
                                    file a proof of claim. Filing a proof of claim submits a creditor to the
                                    jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                    For example, a secured creditor who files a proof of claim may surrender
                                    important nonmonetary rights, including the right to a jury trial.
                                    Deadline to object to exemptions:                                                    Filing Deadline:
                                    The law permits debtors to keep certain property as exempt. If you believe           30 days after the conclusion of the
                                    that the law does not authorize an exemption claimed, you may file an                meeting of creditors
                                    objection.

                                             If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 8. Creditors
    address
              with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 9. Filing a Chapter 11
    bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                             is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                             business.

                                            Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                            See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                            all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                            from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
 10. Discharge of debts                     should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                            and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                            entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                            the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                            send you another notice telling you of that date.

                                            The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                            distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 11. Exempt property                        as exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                            believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                            bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.

Official Form 309E (For Individuals or Joint Debtors)                      Notice of Chapter 11 Bankruptcy Case                                              page 2
